 8:16-cr-00327-RFR-MDN               Doc # 36    Filed: 12/14/16      Page 1 of 1 - Page ID # 66



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:16CR327

       vs.
                                                                           ORDER
SAMANTHA MOORE,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND
PRETRIAL MOTION FILING DEADLINE [33]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 30-day extension. Pretrial Motions
shall be filed by January 13, 2017.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO EXTEND PRETRIAL MOTION FILING
DEADLINE [33] is granted. Pretrial motions shall be filed on or before January 13, 2017.
       2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and
NE. Crim. R. 12.1 forthwith.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between December 13, 2016 and January 13, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       Dated this 14th day of December, 2016

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
